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                                     UNITED STATES DISTRICT COURT

                                  NORTHERN DISTRICT OF CALIFORNIA

                                              SAN JOSE DIVISION
 DISPLAY TECHNOLOGIES, LLC,                )                  Case No. 5:24-cv-00703-NC
                                           )
    Plaintiff,                             )                  STIPULATION TO EXTEND TIME
                                           )                  TO RESPOND TO COMPLAINT
 v.                                        )
                                           )
 DISCORD INC.,                             )
                                           )
    Defendant.                             )
 _________________________________________ )


          Under Civil L.R. 6-1(a), plaintiff Display Technologies, LLC and defendant Discord Inc. hereby

 stipulate and agree that Discord’s time to answer or otherwise respond to the Complaint is extended to

 March 29, 2024. This change will not alter the date of any event or deadline already fixed by the Court.

 Date: February 29, 2024                               Respectfully submitted,


 /s/ Randall Garteiser
 __________________________________                    _______________________________________
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_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                 STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
             Case 5:24-cv-00703-NC Document 11 Filed 02/29/24 Page 2 of 2


                                        SIGNATURE ATTESTATION

          Under Civil L.R. 5-1(h)(3), I attest that all electronic signatories to the foregoing document
 have concurred in this filing.


                                                       _______________________________________
                                                       Matthew S. Warren




                                                                                      Case No. 5:24-cv-00703-NC
_____________________________________________________________________________________________________________
  ___________________________________________________________________________________________________________________
                                                 STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
